    Case 18-04313-5-DMW                     Doc 79 Filed 03/14/19 Entered 03/14/19 15:27:02                 Page 1 of 1
VAN−057 Notice to Creditors and Other Parties in Interest − Rev. 11/07/2013

                               UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF NORTH CAROLINA
                                                           Fayetteville Division

IN RE:
First Baptist Church                                                          CASE NO.: 18−04313−5−DMW
( debtor has no known aliases )
504 W 2nd St                                                                  DATE FILED: August 30, 2018
Lumberton, NC 28358−5438
                                                                              CHAPTER: 11
TaxID: 56−0814751




                             NOTICE TO CREDITORS AND OTHER PARTIES IN INTEREST

NOTICE IS HEREBY GIVEN that a hearing will be held as indicated below:

DATE:           Thursday, May 9, 2019
TIME:           09:30 AM
PLACE:          300 Fayetteville Street, 3rd Floor Courtroom, Raleigh, NC 27602

to consider and act on the following matters:

Objection to Claim Number 4 of Skyline Restoration, Inc. filed by William H. Kroll on behalf of First Baptist
Church

and to transact all other business as may properly come before the court.

DATED: March 14, 2019

                                                                              Stephanie J. Butler
                                                                              Clerk of Court
